                                                          Case 2:12-cv-08539-R-MRW Document 320-1 Filed 10/30/13 Page 1 of 22 Page ID #:6940


                                                            TUCKER ELLIS LLP
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                                                            515 South Flower Street, 42nd Floor
                                                            Los Angeles, CA 90071
                                                            Telephone: 213.430.3400
                                                            Facsimile: 213.430.3409
                                                            TUCKER ELLIS LLP
                                                            Lance D. Wilson SBN 183852
                                                            lance.wilson@tuckerellis.com
                                                            135 Main Street, Suite 700
                                                            San Francisco, CA 94105
                                                            Telephone: 415.617.2400
                                                            Facsimile:     415.617.2409
                                                            Attorneys for Defendant
                                                            UNITED TECHNOLOGIES CORPORATION
Cleveland ♦Columbus ♦Denver ♦Los Angeles ♦San Francisco




                                                                                        UNITED STATES DISTRICT COURT

                                                                                      CENTRAL DISTRICT OF CALIFORNIA
               TUCKER ELLIS LLP




                                                            PAUL OLDS,                                                Case No. 2:12-cv-08539-R(MRWx)
                                                                                   Plaintiff,
                                                                                                                      DECLARATION OF JOHN K.SON IN
                                                                    v.                                                SUPPORT OF DEFENDANT UNITED
                                                                                                                      TECHNOLOGIES CORPORATION'S
                                                            3M COMPANY a/k/a MINNESOTA                                EX PARTE APPLICATION TO
                                                            MINING & MANUFACTURING                                    CONTINUE THE HEARING ON
                                                            COMPANY; et al.,                                          PLAINTIFF'S MOTION TO COMPEL
                                                                                                                      THE DEPOSITION OF UNITED
                                                                             Defendants.                              TECHNOLOGIES CORPORATION
                                                                                                                      AND REQUEST FOR PRODUCTION
                                                                                                                      OF DOCUMENTS PURSUANT TO
                                                                                                                      RULES OF CIVIL PROCEDURE
                                                                                                                      30(B)(6); AND PLAINTIFFS'
                                                                                                                      REQUEST FOR SANCTIONS;
                                                                                                                      MEMORANDUM OF POINTS AND
                                                                                                                      AUTHORITIES




                                                                                                                  1
                                                                  DECLARATION OF JOHN K. SON IN SUPPORT OF UNITED TECHNOLOGIES CORPORATION'S EX PARTE APPLICATION TO
                                                                                          CONTINUE HEARING ON PLAINTIFF'S MOTION TO COMPEL
                                                            074908000772947390
                                                                             Case 2:12-cv-08539-R-MRW Document 320-1 Filed 10/30/13 Page 2 of 22 Page ID #:6941


                                                                                       I, John K. Son, declare and state as follows:
                                                                                       1.      I am an attorney duly licensed to practice in all courts ofthe State of
                                                                               California and counsel with the law firm Tucker Ellis LLP, attorneys of record for
                                                                               defendant United Technologies Corporation("UTC")in the present lawsuit. I have
                                                                               personal knowledge ofthe matters set forth in this declaration and, if called upon, could
                                                                               and would competently testify thereto.
                                                                                       2.      On October 30, 2013, at approximately 11:21 a.m., I called the Court Clerk,
                                                                               Mr. William Horrell, to clear the proposed date of December 2, 2013, for plaintiffs
                                                                               motion to compel and left a voicemail message for Mr. Horrell. At approximately 11:52
                                                                               a.m., Mr. Horrell called me back and confirmed that December 2, 2013, was clear.
                   Cleveland ♦Columbus ♦Denver ♦Los Angeles ♦San Francisco




                                                                                       3.      On October 30, 2013,I wrote to plaintiffs' counsel, Robert A. Green,
                                                                               advising him that I intended to file an ex parte application for an order continuing
                                                                               plaintiffs' motion to compel to December 2, 2013. In my letter, I also advised Mr. Green
TUCKER ELLIS LLP




                                                                               that he had 24 hours from actual receipt ofthe ex parte application to file an opposition.
                                                                               A copy ofthe letter was also served on all parties and their counsel via Lexis Nexis File
                                                                               & Serve pursuant to agreement ofthe parties and the Court's Order dated December 28,
                                                                               2013. Attached hereto as Exhibit A is a true and correct copy of my letter to Mr. Green,
                                                                               the fax confirmation, and File & Serve Transaction Receipt.
                                                                                       I declare under the penalty of perjury under the laws ofthe United States of
                                                                               America that the foregoing is true and correct. Executed this 30th day of October, 2013,
                                                                               in Los Angeles, California.




                                                                                                                                      2
                                                                                      DECLARATION OF JOHN K. SON IN SUPPORT OF UNITED TECHNOLOGIES CORPORATION'S EX PARTE APPLICATION TO
                                                                                                               CONTINUE HEARING ON PLAINTIFFS' MOTION TO COMPEL
                                                                                074908000772947390
Case 2:12-cv-08539-R-MRW Document 320-1 Filed 10/30/13 Page 3 of 22 Page ID #:6942




                               EXHIBIT A
        Case 2:12-cv-08539-R-MRW Document 320-1 Filed 10/30/13 Page 4 of 22 Page ID #:6943




Tucker                      515 South Flower Street, Forty Second Floor J Los Angeles, CA 90071-2223 I TEL 213.430.3400 1 FAX 213.430.3409


Ellis LLP
               October 30,2033                                                         DIRECT DIAL 213.430.3310   john.son@tuckerellis.com



               VIA FACSIMILE -(562)590-3412

               Robert A. Green,Esq.
               Simon Greenstone Panatier Bartlett
               301 E. Ocean Boulevard, Suite 1950
               Long Beach,CA 90802


               Re: Paul Olds v.3M Co., et al.
                   U.S. District Court, Central District of California, No. 2:12-cv-08539 R(MRWx)

               Dear Mr. Green:

                       Please be advised that United Technologies Corporation will be filing an ex parte application
               today for an order continuing Plaintiffs Motion to Compel the Deposition of United Technologies
               Corporation and Request for Production of Documents Pursuant to Federal Rules of Civil Procedure
               30(b)(6); and Plaintiffs Requestfor Sanctions,from November 4,2013,to December 2, 2013. The
               grounds for the requested continuance is to promote judicial economy and conservation of resources
               by having plaintiffs' motion to compel heard on the same day as the hearing on the motion for
               summaryjudgmentthat UTCintends to file which will address the issue of exposure that is common
               to both motions and may render plaintiffs motion moot.

                       Pursuant to Judge.Rears procedures, please be advised that you will have 24 hours from
               actual receipt ofthe ex parte application to file an opposition.
 o
                                                                               Very truly yours,
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                                           ***   TX REPORT   *44*
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                                                                                               515 South Plower Street
       Tucker                                                         Forty-Second Floor, Los Angeles, CA 90071-2223
                                                                                     PHONE: 213.430.3400 ext. 3310

       Ellis LLP                                                                                  FAX: 213.430.3409
                                                                                             jobn,son@tuckerellis.com




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       DATE:        10/30/2013                        PAGES(INCLUDING COVER.PAGE):                     2
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       MATTER:      074908-000772
       To:          Robert A. Green,Esq,
       FIRM:        Simon Greenstone Panatier Bartlett
       FAx:         562-590-3412                   Main


       Fnom:        John K. Son                    E-MAIL;      john.son@tuckerellis.com

       Re:          Paul Olds v.3M Co.,et al.

       Please see attached.- Ex Parte notice
Case 2:12-cv-08539-R-MRW Document 320-1 Filed 10/30/13 Page 6 of 22 Page ID #:6945
                                                                                                                              Page 1 of 8


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  Authorized by:                                                 John K Son, Tucker Ellis LLP -Los Angeles
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  Court:                                                         CA US District Court Central District
  Division/Courtroom:                                            N/A
  Case Class:                                                    Civil-Olds vs 3M Co (2:12-cv-08539-R)
  Case Type:                                                     Asbestos
  Case Number:                                                   2:12-cv-08539-R
  Case Name:                                                     Olds, Paul vs 3M Co et al
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  Correspondence                              Secure Public                                         $0.00
  Document title:
  Defendant United Technologies Corporation Notice of Ex Parte Application
  Expand All
  ElI Sending Parties(1)
               Party           Party Type Attorney                Firm               Attorney Type
      United Technologies Corp Defendant Son, John K Tucker Ellis LLP -Los Angeles Attorney in Charge
  Ell Recipients(61)
     Eel Service List(61)
      EIi Additional Recipients (0)


   Ell Case Parties
                                                                                                                                Attorney
                      Party                               Party Type           Attorney                    Firm
                                                                                                                                  Type
                                                                                                                              Attorney in
      3M Co                                              Defendant        Boone, Mordecai D   Gordon & Rees-San Francisco
                                                                                                                              Charge
                                                                                                                              Attorney in
      3M Co                                              Defendant        Zacher, P Gerhardt Gordon & Rees-San Francisco      Charge
                                                                                                                              Attorney in
      3M Co                                              Defendant        Futoran, Kristine   Gordon & Rees-San Francisco     Charge

      Abex Coro                                          Defendant        Wyles, Kelvin       DeHay & Elliston LLP-California Attorney in




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Case 2:12-cv-08539-R-MRW Document 320-1 Filed 10/30/13 Page 7 of 22 Page ID #:6946
                                                                                                     Page 2 of 8


                                                                                                    Charge
                                                                                                    Attorney in
    Abex Corp                    Defendant    White, Paul C       Yukevich l Cavanaugh              Charge
                                                                                                    Attorney in
    Abex Corp                    Defendant    Judin, Jennifer     DeHay & Elliston LLP-California   Charge
                                                                  Howard Rome Martin & Ridley       Attorney in
    Adel Fasteners               Defendant    Bailey, Bobbie R
                                                                  LLP                               Charge
                                                                  Howard Rome Martin & Ridley       Attorney in
    Adel Fasteners               Defendant    Rome, Henry D
                                                                  LLP                               Charge
                                                                  Howard Rome Martin & Ridley       Attorney in
    Adel Fasteners               Defendant    Rauch, Lisa
                                                                  LLP                               Charge
                                                                  Baker & Hostetler LLP-            Attorney in
    Advanced Composites Group Inc Defendant   Mitchell, Wade
                                                                  Cleveland                         Charge
                                                                  Reed Smith LLP-San Francisco      Attorney in
    BASF Corp                     Defendant   Dittoe, John E
                                                                  Office                            Charge
                                                                                                    Attorney in
    BASFCorp                      Defendant   Uong, Tuan          Reed Smith LLP-GCC Office         Charge
    BASF Performance Products                                     Reed Smith LLP-San Francisco      Attorney in
                                  Defendant   Dittoe, John E      Office                            Charge
    LLC
    BASF Performance Products                                                                       Attorney In
                                  Defendant   Uong, Tuan          Reed Smith LLP-GCC Office         Charge
    LLC
                                                                                                    Attorney in
    B F Goodrich Aerospace        Defendant   Glaspy, David       Glaspy & Glaspy                   Charge
                                                                                                    Attorney in
    B F Goodrich Coro             Defendant   Glaspy, David       Glaspy & Glaspy
                                                                                                    Charge
                                                                                                    Attorney in
    Bendix Corp                   Defendant   Biderman, David T   Perkins Coie LLP-San Francisco    Charge
                                                                                                    Attorney in
    Bendix Corp                   Defendant   Kim, Bo             Perkins Coie LLP-San Francisco
                                                                                                    Charge
                                                                                                    Attorney in
    Boeing Co                     Defendant   Biderman, David T   Perkins Coie LLP-San Francisco
                                                                                                    Charge
                                                                                                    Attorney in
    Boeina Co                     Defendant   Kim, Bo             Perkins Coie LLP-San Francisco
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                                                                                                    Attorney in
    Boeing Co                     Defendant   Gold, Oliver M      Perkins Coie LLP-Los Angeles
                                                                                                    Charge
                                                                  Booth Mitchel & Strange LLP       Attorney in
    Borg Warner Corp              Defendant   Perez, Allegra
                                                                                                    Charge
                                                                                                    Attorney in
    Borg Warner Morse Tec Inc     Defendant   Perez, Allegra      Booth Mitchel & Strange LLP
                                                                                                    Charge
                                                                  Walsworth Franklin Bevins &       Attorney in
    C F M International Inc       Defendant   Gardiner, Katherine McCall-Orange                     Charge
                                                                  Walsworth Franklin Bevins &       Attorney in
    C F M International Inc       Defendant   Johnson, Derek S    McCall-Orange                      Charge
                                                                  Walsworth Franklin Bevins &        Attorney in
    C F M International Inc       Defendant   Sheldon, Charles    McCall-Orange                      Charge
                                                                                                     Attorney in
    C R A Trailers Inc            Defendant   Smelser, Steven     Yukevich l Cavanaugh               Charge
                                                                                                     Attorney in
    C R A Trailers Inc            Defendant   Ko, Sandra          Ko, Sandra                         Charge
                                              Pietrykowski,                                          Attorney in
    Carlisle Co Inc               Defendant                       Gordon & Rees-San Francisco
                                              Michael J                                              Charge
                                                                                                     Attorney in
    Carlisle Co Inc               Defendant   Willenburg, Don     Gordon & Rees-San Francisco
                                                                                                     Charge
                                                                  Selman Breitman LLP-Los            Attorney in
    Caterpillar Inc               Defendant   DEANE, JEFFREY W
                                                                  Angeles                            Charge
                                              Counsel, Asbestos   Selman Breitman LLP-Los           Attorney
    Caterpillar Inc               Defendant
                                              SB-LA               Angeles
                                                                  Selman Breltman LLP-Los           Attorney in
    Caterpillar Inc               Defendant   Almazan, Marla T
                                                                  Angeles                           Charge
                                                                  Reed Smith LLP-San Francisco      Attorney in
    Clba Co Inc                   Defendant   Dittoe, John E
                                                                  Office                            Charge
                                                                                                    Attorney in




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Case 2:12-cv-08539-R-MRW Document 320-1 Filed 10/30/13 Page 8 of 22 Page ID #:6947
                                                                                                        Page 3 of 8


    Ciba Co Inc                      Defendant     Uong, Tuan           Reed Smith LLP-GCC Office      Charge
                                                                        Reed Smith LLP-San Francisco Attorney In
    Ciba Specialty Chemicals Corp    Defendant     Dittoe, John E       Office                         Charge
                                                                                                       Attorney in
    Ciba Specialty Chemicals Corp    Defenda nt    Uong, Tuan           Reed Smith LLP-GCC Office
                                                                                                       Charge
                                                                                                       Attorney in
    Cummins Inc                      Defenda nt    Jackson, Gabriel A Jackson Jenkins Renstrom LLP
                                                                                                       Charge
                                                                                                       Attorney in
    Cummins Inc                      Defendant     Thuesen, Albert L Jackson Jenkins Renstrom LLP
                                                                                                       Cha rge
                                                                                                       Attorney in
    Cummins Inc                      Defendant     Chiosso, Anthony C Jackson Jenkins Renstrom LLP
                                                                                                       Charge
                                                                                                       Attorney in
    Cummins Inc                      Defendant     Supowit, Stuart      Jackson Jenkins Renstrom LLP
                                                                                                       Cha rge
                                                                                                       Attorney in
    Curtiss Wright Corp              Defendant     Smith, Deborah A Gordon & Rees-San Francisco
                                                                                                       Charge
                                                                                                       Attorney In
    Curtiss Wright Corp              Defendant     LaFevers, Kathryn Gordon & Rees-San Francisco
                                                                                                       Cha rge
                                                                        McKenna Long &Aldridge-Los Attorney in
    Dana Companies LLC               Defendant     Nicol, Farah         Angeles                        Charge
                                                                        Lewis Brisbois Bisgaard &      Attorney in
    Dexter Corp                      Defendant     Khonsari, Arezou     Smith LLP-Los Angeles          Charge
                                                                                                       Attorney in
    Doulgas Aircraft                 Defendant     Boone, Robert E      Bryan Cave LLP-Santa Monica Charge
                                                                                                       Attorney in
    Doulgas Aircraft                 Defendant     Biderman, David T Perkins Cole LLP-San Francisco Cha rge
                                                                                                       Attorney in
    Doulgas Aircraft                 Defenda nt    Kim, Bo              Perkins Cole LLP-San Francisco Cha rge
                                                                                                       Attorney in
    Doulgas Aircraft                 Defendant     Pettis, James C      Bryan Cave LLP-Santa Monica
                                                                                                       Cha rge
                                                                                                       Attorney in
    Doulgas Aircraft                 Defendant     Gold, Oliver M       Perkins Coie LLP-Los Angeles
                                                                                                       Charge
                                                                        Prindle Decker & Amaro LLP-    Attorney in
    Eaton Aeroguip Inc               Defendant     Renzi, Danielle Ochi
                                                                        Long Beach                     Cha rge
                                                                        Prindle  Decker & Amaro LLP-   Attorney in
    Eaton Aeroguip LLC               Defendant     Renzi, Danielle Ochi
                                                                        Long Beach                     Charge
                                                                        Prindle Decker &Amaro LLP-     Attorney in
    Eaton Aerospace LLC              Defendant     Renzi, Danielle Ochi
                                                                        Long Beach                     Charge
                                                                        Prindle Decker & Amaro LLP-    Attorney in
    Eaton Corp                       Defendant     Renzi, Danielle Ochi
                                                                        Long Beach                     Charge
                                                                         Morgan Lewis & Bockius LLP-   Attorney in
    Elbit Systems of America LLC     Defendant     Duffy, Joseph        Los Angeles                    Cha rge
                                                   Phillips, Meghan      Morgan Lewis & Bockius LLP-   Attorney in
    Elbit Systems of America LLC     Defendant     Lynn                  Los Angeles                    Cha rge
                                                                         Morgan Lewis & Bockius LLP-    Attorney in
    Fairchild Aviation Corp          Defendant     Duffy, Joseph         Los Angeles                    Cha rge
                                                   Phillips, Meghan      Morgan Lewis & Bockius LLP-    Attorney in
    Fairchild Aviation Corp          Defendant      Lynn                 Los Angeles                    Charge
    Federal Mogul Asbestos Personal                 BRADY, MATTHEW Selman Breitman LLP-Santa            Attorney in
                                    Defendant                           Ana                             Charge
    Iniury Trust                                   S
                                                                                                        Attorney in
    Felt Products Manufacturing Co   Defendant      No Answer on File Firm TBD
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                                     File &         Service, File &                                     Attorney in
    File & ServeXpress Service                                           File & ServeXpress Service
                                     ServeXpress   ServeXpress                                          Charge
                                                                                                        Attorney in
    Ford Motor Co                    Defendant     Smelser, Steven      Yukevich l Cavanaugh
                                                                                                        Cha rge
                                                                                                        Attorney in
    Ford Motor Co                    Defendant      Ko, Sandra           Ko, Sandra
                                                                                                        Charge
    Ford Motor Co                    Defendant      Johnston, Sarah     Johnston, Sarah                 Attorney
                                                                         Walsworth Franklin Bevins &    Attorney in
    G E Aviation Systems LLC         Defendant      Gardiner, Katherine
                                                                         McCall-Orange                  Charge
                                                                         Walsworth Franklin Bevins &    Attorney in
    G E Aviation Systems LLC         Defendant     Johnson, Derek S      McCall-Orange                  Charge




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Case 2:12-cv-08539-R-MRW Document 320-1 Filed 10/30/13 Page 9 of 22 Page ID #:6948
                                                                                                          Page 4 of 8


                                                                        Walsworth Franklin   Bevins &    Attorney in
    G E Aviation Systems LLC           Defendant    Sheldon, Charles                                     Charge
                                                                        McCall-Orange
                                                                        Walsworth Franklin   Bevins &    Attorney In
    General Electric Co                Defendant    Gardiner, Katherine McCall-Orange                    Cha rge
                                                                        Walsworth Franklin   Bevins &    Attorney in
    General Electric Co                Defendant    Johnson, Derek S    McCall-Orange                    Charge
                                                                        Walsworth Franklin   Bevins &    Attorney in
    General Electric Co               , Defendant   Sheldon, Charles
                                                                        McCall-Orange                    Charge
                                                                        Walsworth Franklin   Bevins &    Attorney in
    General Gasket Corp                Defendant    Johnson, Karen
                                                                        McCall-Orange                    Charge
                                                                                                         Attorney in
    General Laboratory Associates      Defendant    Glaspy, David       Glaspy & Glaspy
                                                                                                         Charge
                                                                                                         Attorney in
    Genuine Parts Co Inc               Defendant    Pond, Frank D       Pond North LLP
                                                                                                         Charge
                                                                                                         Attorney in
    Genuine Parts Co Inc               Defendant    Pieper, Timothy     Pond North LLP
                                                                                                         Charge
                                                                                                         Attorney in
    Genuine Parts Co Inc               Defendant    Schatz, Russell W   Pond North LLP                   Cha rge
                                                                                                         Attorney in
    Goodrich Corp                      Defendant    Glaspy, David       Glaspy & Glaspy                  Charge
                                                                                                         Attorney in
    Goodrich Fuel Utilities Systems    Defendant    Glaspy, David       Glaspy & Glaspy                  Charge
                                                                        Lewis Brisbois Bisgaard &        Attorney in
    Goodyear Aerospace Coro            Defendant    Stone, Elan N
                                                                        Smith LLP-Los Angeles            Charge
                                                                        Lewis Brisbois Bisgaard &        Attorney in
    Goodyear Tire & Rubber Co          Defendant    Stone, Elan N       Smith LLP-Los Angeles            Charge
                                                                                                         Attorney in
    Great Dane Trailers Inc            Defendant    Smelser, Steven     Yukevich l Cavanaugh
                                                                                                         Charge
                                                                                                         Attorney In
    Great Dane Trailers Inc            Defendant    Ko, Sandra          Ko, Sandra
                                                                                                         Cha rge
                                                                      Hawkins Parnell Thackston &        Attorney in
    Grizzly Manufacturing Co           Defendant    Chan, Macy M
                                                                      Young LLP-California               Charge
                                                                      Hawkins Parnell Thackston &        Attorney in
    Grizzly Manufacturing Co           Defendant    Ulloa, Edward
                                                                      Young LLP-California               Charge
                                                                      Hawkins Parnell Thackston &        Attorney in
    Grizzly Manufacturing Co           Defendant    Bowlby, Stephanie
                                                                      Young LLP-California               Charge
                                                                                                         Attorney in
    Harco Laboratories Inc             Defendant    Pajala, Ulla M      Burnham Brown-Oakland
                                                                                                         Charge
                                                                                                         Attorney in
    Harco Laboratories Inc             Defendant    Downey, Thomas M Burnham Brown-Oakland               Charge
                                                                        Lewis Brisbois Bisgaard &        Attorney in
    Henkel Coro                        Defendant    Khonsari, Arezou    Smith LLP-Los Angeles            Charge
                                                                                                         Attorney in
    Honeywell Aerospace                Defendant    Biderman, David T   Perkins Coie LLP-San Francisco   Charge
                                                                                                          Attorney in
    Honeywell Aerospace                Defendant    Kim, Bo             Perkins Cole LLP-San Francisco    Cha rge
                                                                                                         Attorney in
    Honeywell International Inc        Defendant    Biderman, David T   Perkins Cole LLP-San Francisco    Charge
                                                                                                          Attorney in
    Honeywell International Inc        Defendant    Kim, Bo             Perkins Coie LLP-San Francisco    Charge
                                                                        Howard Rome Martin & Ridley       Attorney in
    Imo Industries Inc                 Defendant    Bailey, Bobbie R
                                                                        LLP                               Cha rge
                                                                        Howard Rome Martin & Ridley       Attorney in
    Imo Industries Inc                 Defendant    Rome, Henry D
                                                                        LLP                               Charge
                                                                        Howard Rome Martin & Ridley       Attorney in
    Imo Industries Inc                 Defendant    Rauch, Lisa                                           Charge
                                                                        LLP
    International Truck & Engine                                        Lankford Crawford Moreno &        Attorney in
                                       Defendant    Lannus, Paul
    Corp                                                                Ostertag LLP                      Cha rge
    International Truck & Engine                                        Lankford Crawford Moreno &        Attorney in
                                       Defendant    Ostertag, James
    Corp                                                                Ostertag LLP                      Charge
    International Truck & Engine                                                                          Attorney in
                                       Defendant    Nelson, Evan C      Nelson, Evan C                    Charge
    Corp




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  Case 2:12-cv-08539-R-MRW Document 320-1 Filed 10/30/13 Page 10 of 22 Page ID
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                                                                      Baker & Hostetler LLP-           Attorney in
    J D Lincoln Inc                  Defendant    Mitchell, Wade      Cleveland                        Charge
                                                                                                       Attorney in
    J D Lincoln Inc                  Defendant    Davis, Jim          Davis, Jim                       Charge
                                                                                                       Attorney in
    Kenworth Truck Co                Defendant    Buty, Madeline      Buty & Curliano LLP
                                                                                                       Charge
    Lockheed Martin Aeronautical                                                                       Attorney in
                                     Defendant    Glazier, Guy P      Glazier Yee LLLP
    Systems                                                                                            Charge
    Lockheed Martin Aeronautical                                                                       Attorney in
                                     Defendant    Parker, Deborah M   Glazier Yee LLLP
    Systems                                                                                            Charge
    Lockheed Martin Aeronautical                                                                       Attorney in
                                     Defendant    Irani, Nina C       Irani, Nina C Esq
    Systems                                                                                            Charge
                                                                                                       Attorney in
    Lockheed Martin Corp             Defendant    Glazier, Guy P      Glazier Yee LLLP
                                                                                                       Charge
                                                                                                       Attorney in
    Lockheed Martin Corp             Defendant    Parker, Deborah M   Glazier Yee LLLP
                                                                                                       Charge
                                                                                                       Attorney in
    Lockheed Martin Corp             Defendant    Irani, Nina C       Irani, Nina C Esq
                                                                                                       Charge
    Lockheed Martin Tactical                                                                           Attorney in
                                     Defendant    Glazier, Guy P      Glazier Yee LLLP
    Systems Inc                                                                                        Charge
    Lockheed Martin Tactical                                                                           Attorney in
                                     Defendant    Parker, Deborah M   Glazier Yee LLLP                 Charge
    Systems Inc
    Lockheed Martin Tactical                                                                           Attorney in
                                     Defendant    Irani, Nina C       Irani, Nina C Esq
    Systems Inc                                                                                        Charge
                                                                      Morgan Lewis & Bockius LLP-      Attorney in
    M 7 Aerospace LLC                Defendant    Duffy, Joseph
                                                                      Los Angeles                      Charge
                                                  Phillips, Meghan    Morgan Lewis & Bockius LLP-      Attorney in
    M 7 Aerospace LLC                Defendant                        Los Angeles                      Charge
                                                  Lynn
                                     Defendant                        Lankford Crawford Moreno &       Attorney in
    Mack Trucks Inc                               Lannus, Paul
                                                                      Ostertag LLP                     Charge ,
                                                                      Lankford Crawford Moreno &       Attorney in
    Mack Trucks Inc                  Defendant    Ostertag, James
                                                                      Ostertag LLP                     Charge
                                     Defendant    Nelson, Evan C      Nelson, Evan C                   Attorney in
    Mack Trucks Inc
                                                                                                       Charge
                                                                    Hawkins Parnell Thackston &        Attorney in
    Maremont Corp                    Defenda nt   Chan, Macy M
                                                                    Young LLP-California               Charge
                                                                    Hawkins Parnell Thackston &        Attorney in
    Maremont Corp                    Defendant    Ulloa, Edward
                                                                    Young LLP-California                Charge
                                                                    Hawkins Parnell Thackston &         Attorney in
    Maremont Corp                    Defendant    Bowiby, Stephanie Young LLP-California                Charge
                                                                                                        Attorney in
    McDonnell Douglas Corp           Defenda nt   Boone, Robert E     Bryan Cave LLP-Santa Monica       Charge
                                                                                                        Attorney in
    McDonnell Douglas Corp           Defendant    Biderman, David T   Perkins Coie LLP-San Francisco
                                                                                                        Cha rge
                                                                                                        Attorney in
    McDonnell Douglas Corp           Defenda nt   Kim, Bo             Perkins Cole LLP-San Francisco    Charge
                                                                                                        Attorney in
    McDonnell Douglas Corp           Defendant    Pettis, James C     Bryan Cave LLP-Santa Monica       Charge
                                                                                                        Attorney
    McDonnell Douglas Corp           Defendant    Gold, Oliver M      Perkins Coie LLP-Los Angeles
                                                                                                                 inCharge
                                                                      Steptoe &Johnson LLP -            Attorney in
    Metropolitan Life Insurance Co   Defendant    Spira, Kirsten
                                                                      Century City                      Charge
                                                                      Steptoe & Johnson LLP-Los         Attorney in
    Metropolitan Life Insurance Co   Defendant    Petrovsky, Lisa
                                                                      Angeles                           Charge
    Minnesota Mining &                                                                                  Attorney in
                                     Defendant    Boone, Mordecai D Gordon & Rees-San Francisco
    Manufacturing Co                                                                                    Charge
    Minnesota Mining &                                                                                  Attorney in
                                     Defendant    Zacher, P Gerhardt Gordon & Rees-San Francisco
    Manufacturing Co                                                                                    Charge
    Minnesota Mining &                                                                                  Attorney in
                                     Defendant    Futoran, Kristine   Gordon & Rees-San Francisco
    Manufacturing Co                                                                                    Charge
                                                  Pletrykowski,                                         Attorney in
    Motion Control Industries Inc    Defendant                        Gordon & Rees-San Francisco       Charge
                                                  Michael J




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                                                                                                      Attorney in
    Motion Control Industries Inc   Defendant   Willenburg, Don      Gordon & Rees-San Francisco      Charge
                                                                                                      Attorney in
    NAPA                            Defendant   Pond, Frank D        Pond North LLP                   Charge
                                                                                                      Attorney in
    NAPA                            Defendant   Pieper, Timothy      Pond North LLP
                                                                                                      Charge
                                                                                                      Attorney in
    NAPA                            Defendant   Schatz, Russell W    Pond North LLP
                                                                                                      Charge
    National Automotive Parts                                                                         Attorney in
                                    Defendant   Pond, Frank D        Pond North LLP
    Association                                                                                       Charge
    National Automotive Parts                                                                         Attorney in
                                    Defendant   Pieper, Timothy      Pond North LLP
    Association                                                                                       Charge
    National Automotive Parts                                                                         Attorney in
                                    Defendant   Schatz, Russell W    Pond North LLP
    Association                                                                                       Charge
                                                                     Lankford Crawford Moreno &       Attorney in
    Navistar Inc                    Defendant   Lannus, Paul
                                                                     Ostertag LLP                     Charge
                                                                     Lankford Crawford Moreno &       Attorney in
    Navistar Inc                    Defendant   Ostertag, James      Ostertag LLP                     Charge
                                                                                                      Attorney in
    Navistar Inc                    Defendant   Nelson, Evan C       Nelson, Evan C                   Charge
                                                                                                      Attorney in
    North American Aviation Corp    Defendant   Boone, Robert E      Bryan Cave LLP-Santa Monica
                                                                                                      Charge
                                                                                                      Attorney in
    North American Aviation Corp    Defendant   Biderman, David T Perkins Coie LLP-San Francisco Charge
                                                                                                      Attorney in
    North American Aviation Corp    Defendant   Kim, Bo              Perkins Coie LLP-San Francisco
                                                                                                      Charge
                                                                                                      Attorney in
    North American Aviation Corp    Defendant   Pettis, James C      Bryan Cave LLP-Santa Monica Charge

    North American Aviation Corp    Defendant   Gold, Oliver M       Perkins Coie LLP-Los Angeles Attorney in
                                                                                                      Charge
                                                                     Simon Greenstone Panatier        Attorney in
    Olds, Paul                      Plaintiff   Bartlett, Jennifer L
                                                                     Bartlett PC                      Charge
                                                                     Buty & Curliano LLP              Attorney in
    Paccar Inc                      Defendant   Buty, Madeline
                                                                                                      Charge
                                                                                                      Attorney in
    Parker Aerospace                Defendant   No Answer on File Firm TBD
                                                                                                       Charge
                                                                     Sedgwick LLP-Los Angeles          Attorney in
    Parker Hannifin Corp            Defendant   Kum, Robert
                                                                                                       Charge
                                                                                                       Attorney in
    Parker Hannifin Corp            Defendant   Groseclose, Mathew Sedgwick LLP-Los Angeles            Charge
                                                                                                       Attorney in
    Parker Hannifin Corp            Defendant   Disaia, Steven D     Sedgwick LLP-Los Angeles          Charge
                                                                                                       Attorney in
    Peterbilt Truck Co              Defendant   Buty, Madeline        Buty & Curliano LLP
                                                                                                       Charge
    Pirelli Communications Cables &                                  Thompson Coe Cousins & Irons Attorney In
                                    Defendant   Ezzell, Peter Q       LLP- Houston -Da Ilas            Charge
    Systems USA LLC
                                                                                                       Attorney in
    Pneumo Abex Aerospace           Defendant    Wyles, Kelvin        DeHay & Elliston LLP-California
                                                                                                       Charge
                                                                                                       Attorney in
    Pneumo Abex Aerospace           Defendant    White, Paul C       Yukevich I Cavanaugh              Charge
                                                                                                       Attorney in
    Pneumo Abex Aerospace           Defendant   Judin, Jennifer       DeHay & Elliston LLP-California
                                                                                                       Charge
                                                                                                       Attorney in
    Pneumo Abex LLC                 Defendant    Wyles, Kelvin        DeHay & Elliston LLP-California
                                                                                                       Charge
                                                                                                       Attorney in
    Pneumo Abex LLC                 Defendant    White, Paul C        Yukevich I Cavanaugh
                                                                                                       Charge
                                                                                                       Attorney in
    Pneumo Abex LLC                 Defendant    Judin, Jennifer      DeHay & Elliston LLP-California
                                                                                                       Charge
                                                 Hormozyari,          DeHay & Elliston LLP-California Attorney
    Pneumo Abex LLC                 Defendant
                                                 Anosheh
                                                                                                       Attorney in
    Pratt & Whitney                 Defendant   Son, John K          Tucker Ellis LLP -Los Angeles
                                                                                                       Charge




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                                                                                                           Attorney in
    Pratt & Whitney                    Defendant    Wilson, Lance D       Tucker Ellis LLP-San Francisco
                                                                                                           Charge
    Prvsmian Power Cables &                                               Thompson Coe Cousins & Irons     Attorney in
                                       Defendant    Ezzell, Peter Q                                        Charge
    Systems USA LLC                                                       LLP-Houston- Dallas
                                                                                                           Attorney in
    Rockwell International Corp        Defendant    Boone, Robert E       Bryan Cave LLP-Santa Monica      Charge
                                                                                                           Attorney in
    Rockwell International Corp        Defendant    Biderman, David T     Perkins Cole LLP-San Francisco   Charge
                                                                                                           Attorney in
    Rockwell International Corp        Defendant    Kim, Bo               Perkins Coie LLP-San Francisco   Charge
                                                                                                           Attorney'in
    Rockwell International Corp        Defendant    Pettis, Jdmes C       Bryan Cave LLP-Santa Monica      Charge
                                                                                                           Attorney in
    Rockwell International Corp        Defendant    Gold, Oliver M        Perkins Coie LLP-Los Angeles     Charge
    Simmonds Precision Engine                                                                              Attorney in
                                       Defendant    Glaspy, David         Glaspy & Glaspy
    Systems Inc                                                                                            Cha rge
                                                                                                           Attorney in
    Simmonds Precision Products Inc Defendant       Glaspy, David         Glaspy & Glaspy
                                                                                                           Charge
                                                                          Walsworth Franklin Bevins &      Attorney in
    Smiths Aerospace LLC               Defendant    Gardiner, Katherine
                                                                          McCall-Orange                    Cha rge
                                                                          Walsworth Franklin Bevins &      Attorney in
    Smiths Aerospace LLC               Defendant    Johnson, Derek S
                                                                          McCall-Orange                    Charge
                                                                          Walsworth Franklin Bevins &      Attorney in
    Smiths Aerospace LLC               Defendant    Sheldon, Charles
                                                                          McCall-Orange                    Charge
                                                                          McKenna Long & Aldridge-Los      Attorney in
    Spicer Manufacturing Co            Defendant     Nicol, Farah
                                                                          Angeles                          Charge
                                                                          Prindle Decker &Amaro LLP-       Attorney in
    Thermo King Corp                   Defendant    Crochet, Carla L
                                                                          Long Beach                       Charge
                                                                          Prindle Decker & Amaro LLP-      Attorney in
    Thermo King Corp                   Defendant     Milbrodt, Jeremy     Long Beach                       Cha rge
                                                                          Prindle Decker & Amaro LLP-      Attorney in
    Thermo King Corp                   Defendant     Galfayan, Arpl       Long Beach                       Charge
    UMECO Structural Materials                                            Baker & Hostetler LLP-           Attorney in
                                       Defendant     Mitchell, Wade       Cleveland                        Charge
    OK Inc
    UMECO Structural Materials CA                                         Baker & Hostetler LLP-           Attorney in
                                       Defendant     Mitchell, Wade       Cleveland                         Charge
    Inc
    UMECO Structural Materials CA                                                                           Attorney in
                                       Defendant     Davis, Jim           Davis, Jim
    Inc                                                                                                     Charge
                                                                          McKenna Long & Aldridge-Los       Attorney in
    Union Carbide Corp                 Defendant     Nicol, Farah
                                                                          Angeles                           Charge
                                                                                                            Attorney in
    United Technologies Corp           Defendant     Son, John K          Tucker Ellis LLP -Los Angeles
                                                                                                            Charge
                                                                                                            Attorney in
    United Technologies Corn           Defendant     Wilson, Lance D      Tucker Ellis LLP-San Francisco
                                                                                                            Charge
                                                                                                            Attorney in
    Utility Trailer Manufacturing Co   Defendant     Ackley, Lisa R       Ackley, Lisa R
                                                                                                            Charg e
                                                                          Walsworth Franklin Bevins &       Attorney in
    Utility Trailer Manufacturing Co   Defendant     Huynh, Elizabeth
                                                                          McCall-Orange                     Charge
                                                                          Walsworth Franklin Bevins &       Attorney in
    Utility Trailer Manufacturing Co   Defendant     Quon, Kimberly
                                                                          McCall-Orange                     Charge
                                                                          McKenna Long & Aldridge-Los       Attorney in
    Victor Gasket Manufacturing Co     Defendant     Nicol, Farah         Angeles                           Charge
                                                                          Howard Rome Martin & Ridley       Attorney in
    Wiggins Connectors                 Defendant     Bailey, Bobbie R     LLP                               Charge
                                                                          Howard Rome Martin & Ridley       Attorney in
    Wiggins Connectors                 Defendant     Rome, Henry D        LLP                               Charge
                                                                          Howard Rome Martin & Ridley       Attorney in
    Wiggins Connectors                 Defendant     Rauch, Lisa          LLP                               Charge


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 Court:                                             CA US District Court Central District
 Division/Courtroom:                                N/A
 Case Class:                                        Civil-Olds vs 3M Co (2:12-cv-08539-R)
 Case Type:                                         Asbestos
 Case Number:                                       2:12-cv-08539-R
 Case Name:                                         Olds, Paul vs 3M Co et al


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 Correspondence                              Secure Public                           $0.00
 Document title:
 Defendant United Technologies Corporation Notice of Ex Parte Application
 Expand All
    Sending Parties(1)
              Party           Party Type Attorney                Firm              Attorney Type
     United Technologies Corp Defendant Son, John K Tucker Ellis LLP -Los Angeles Attorney in Charge
 RI Recipients(611
        Service List (61)

    SI Additional Recipients (0)



 E1t Case Parties
                                                                                                                   Attorney
                    Party                 Party Type          Attorney                       Firm
                                                                                                                     Type
                                                                                                                 Attorney In
     3M Co                              Defendant        Boone, Mordecai D Gordon & Rees-San Francisco
                                                                                                                 Charge
                                                                                                                 Attorney in
     3M Co                              Defendant        Zacher, P Gerhardt Gordon & Rees-San Francisco          Charge
                                                                                                                 Attorney in
     3M Co                              Defendant        Futoran, Kristine    Gordon & Rees-San Francisco
                                                                                                                 Charge

     Abex Corp                          Defendant        Wyles, Kelvin         DeHay & Elliston LLP-California Attorney in




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                                                                                                       Charge
                                                                                                       Attorney
    Abex Corp                      Defendant   White, Paul C         Yukevich 1 Cavanaugh                                                    inCharge
                                                                                                       Attorney
    Abex Corp                      Defendant   Judin, Jennifer       DeHay & Elliston LLP-California            inCharge
                                                                     Howard Rome Martin & Ridley       Attorney in
    Adel Fasteners                 Defendant   Bailey, Bobbie R                                        Charge
                                                                     LLP
                                                                     Howard Rome Martin 8i Ridley      Attorney in
    Adel Fasteners                 Defendant   Rome, Henry D
                                                                     LLP                               Charge
                                                                     Howard Rome Martin & Ridley       Attorney in
    Adel Fasteners                 Defendant   Rauch, Lisa
                                                                     LLP                               Charge
                                                                     Baker 8i Hostetler LLP-           Attorney in
    Advanced Composites Group Inc Defendant    Mitchell, Wade
                                                                     Cleveland                         Charge
                                                                     Reed Smith LLP-San Francisco      Attorney in
    BAS F Corp                     Defendant   Dittoe, John E
                                                                     Office                            Charge
                                                                                                       Attorney
  'BASF Corp                       Defendant   Uong, Tuan            Reed Smith LLP-GCC Office                           inCharge
    B A S F Performance Products                                     Reed Smith LLP-San Francisco      Attorney in
                                   Defendant   Dittoe, John E        Office                            Charge
    LLC
    B A S F Performance Products                                                                       Attorney In
                                   Defendant   Uong, Tuan            Reed Smith LLP-GCC Office         Charge
    LLC
                                                                                                       Attorney
    B F Goodrich Aerospace         Defendant   Glaspy, David         Glaspy & Glaspy                                              inCharge
                                                                                                       Attorney in
    B F Goodrich Coro              Defendant   Glaspy, David         Glaspy & Glaspy                   Charge
                                                                                                       Attorney in
    Bendix Corp                    Defendant   Biderman, David T     Perkins Coie LLP-San Francisco     Charge
                                                                                                       Attorney in
    Bendix Corp                    Defendant   Kim, Bo               Perkins Coie LLP-San Francisco
                                                                                                        Charge
                                                                                                        Attorney in
    Boeing Co                      Defendant   Biderman, David T     Perkins Coie LLP-San Francisco
                                                                                                        Charge
                                                                                                        Attorney in
    Boeing Co                      Defendant   Kim, Bo               Perkins Coie LLP-San Francisco
                                                                                                        Charge
                                                                                                        Attorney in
    Boeing Co                      Defendant   Gold, Oliver M        Perkins Coie LLP-Los Angeles
                                                                                                        Charge
                                                                                                        Attorney in
    Borg Warner Corp               Defendant   Perez, Allegra        Booth Mitchel & Strange LLP
                                                                                                        Charge
                                                                                                        Attorney in
    Borg Warner Morse Tec Inc      Defendant   Perez, Allegra        Booth Mitchel & Strange LLP
                                                                                                        Charge
                                                                     Walsworth Franklin Bevins &        Attorney in
    C F M International Inc        Defendant   Gardiner, Katherine                                      Charge
                                                                     Walsworth Franklin Bevins &        Attorney in
    C F M International Inc        Defendant   Johnson, Derek S      McCall-Orange                      Charge
                                                                     Walsworth Franklin Bevins &        Attorney In
    C F M International Inc        Defendant   Sheldon, Charles      McCall-Orange                      Charge
                                                                                                        Attorney
    C R A Trailers Inc             Defendant   Smelser, Steven       Yukevich 1 Cavanaugh                                                  inCharge
                                                                                                        Attorney
    C R A Trailers Inc             Defendant   Ko, Sandra            Ko, Sandra                                                                 inCharge
                                               Pietrykowski,                                            Attorney in
    Carlisle Co Inc                Defendant                         Gordon & Rees-San Francisco
                                               Michael J                                                Charge
                                                                                                        Attorney in
    Carlisle Co Inc                Defendant   Willenburg, Don       Gordon & Rees-San Francisco
                                                                                                        Charge
                                                                     Selman Breitman LLP-Los            Attorney In
    Caterpillar Inc                Defendant   DEANE, JEFFREY W                                         Charge
                                                                     Angeles
                                               Counsel, Asbestos     Selman Breitman LLP-Los              Attorney
    Caterpillar Inc                Defendant                         Angeles
                                               SB-LA
                                                                     Selman Breitman LLP-Los               Attorney in
    Caterpillar Inc                Defendant   Almazan, Marla T
                                                                     Angeles                               Charge
                                                                     Reed Smith LLP-San Francisco          Attorney in
    Clba Co Inc                    Defendant    Dittoe, John E                                             Charge
                                                                     Office
                                                                                                           Attorney in




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    Ciba •Co Inc                     Defendant     Uong, Tuan            Reed Smith LLP-GCC Office      Charge
                                                                         Reed Smith LLP-San Francisco Attorney In
    Ciba Specialty Chemicals Corn    Defendant     Dittoe, John E        Office                         Charge
                                                                                                        Attorney in
    Ciba Specialty Chemicals Corp    Defendant     Uong, Tuan            Reed Smith LLP-GCC Office      Charge
                                                                                                        Attorney in
    Cummins Inc                      Defendant     Jackson, Gabriel A Jackson Jenkins Renstrom LLP
                                                                                                        Charge
                                                                                                        Attorney in
    Cummins Inc                      Defendant     Thuesen, Albert L Jackson Jenkins Renstrom LLP
                                                                                                        Cha rge
                                                                                                        Attorney in
    Cummins Inc                      Defendant     Chiosso, Anthony C Jackson Jenkins Renstrom LLP
                                                                                                        Charge
                                                                                                        Attorney in
    Cummins Inc                      Defendant     Supowit, Stuart       Jackson Jenkins Renstrom LLP
                                                                                                        Charge
                                                                                                        Attorney in
    Curtiss Wright Corp              Defendant     Smith, Deborah A Gordon & Rees-San Francisco
                                                                                                        Charge
                                                                                                        Attorney in
    Curtiss Wright Corn              Defendant     LaFevers, Kathryn Gordon & Rees-San Francisco Charge
                                                                         McKenna Long & Aldridge-Los Attorney in
    Dana Companies LLC               Defendant     Nicol, Farah          Angeles                        Charge
                                                                         Lewis Brisbois Bisgaard &      Attorney in
    Dexter Corp                      Defenda nt    Khonsari, Arezou      Smith LLP-Los Angeles          Charge
                                                                                                        Attorney in
    Doulgas Aircraft                 Defendant     Boone, Robert E       Bryan Cave LLP-Santa Monica Charge
                                                                                                     i  Attorney in
    Doulgas Aircraft                 Defendant     Biderman, David T Perkins Cole LLP-San Franc sco Charge
                                                                                                        Attorney in
    Doulaas Aircraft                 Defendant     Kim, Bo               Perkins Coie LLP-San Francisco Charge
                                                                                                        Attorney in
    Doulgas Aircraft                 Defendant     Pettis, James C       Bryan Cave LLP-Santa Monica
                                                                                                         Charge
                                                                                                        Attorney in
    Doulgas Aircraft                 Defendant     Gold, Oliver M        Perkins Coie LLP-Los Angeles
                                                                                                         Charge
                                                                         Prindle Decker & Amaro LLP-    Attorney in
    Eaton Aeroguip Inc               Defendant      Renzi, Danielle Ochi
                                                                          Long Beach                     Charge
                                                                         Prindle  Decker &Amaro LLP-     Attorney in
    Eaton Aeroguip LLC               Defendant      Renzi, Danielle Ochi                                 Charge
                                                                          Long Beach
                                                                          Prindle Decker &Amaro LLP-     Attorney in
    Eaton Aerospace LLC              Defenda nt     Renzi, Danielle Ochi
                                                                          Long Beach                     Charge
                                                                          Prindle Decker & Amaro LLP-    Attorney in
    Eaton Corn                       Defendant      Renzi, Danielle Ochl                                 Cha rge
                                                                          Long Beach
                                                                          Morgan Lewis & Bockius LLP-    Attorney in
    Elbit Systems of America LLC     Defendant      Duffy, Joseph         Los Angeles                    Charge
                                                    Phillips, Meghan      Morgan Lewis & Bockius LLP-    Attorney in
    Elbit Systems of America LLC     Defendant      Lynn                  Los Angeles                    Charge
                                                                          Morgan Lewis & Bockius LLP-    Attorney in
    Fairchild Aviation Corp          Defendant      Duffy, Joseph         Los Angeles                    Charge
                                                    Phillips, Meghan      Morgan   Lewis & Bockius LLP-  Attorney in
    Fairchild Aviation Corp          Defendant      Lynn                  Los Angeles                    Charge
    Federal Mogul Asbestos Personal Defendant       BRADY, MATTHEW Selman Breitman LLP-Santa             Attorney in
    Iniury Trust                                    S                     Ana                            Charge
                                                                                                         Attorney in
    Felt Products Manufacturing Co   Defendant      No Answer on File Firm TBD                           Charge
                                     File &         Service, File &                                      Attorney in
    File & ServeXpress Service                                            File & ServeXpress Service     Charge
                                     ServeXpress    ServeXpress
                                                                                                         Attorney in
    Ford Motor Co                    Defendant      Smelser, Steven       Yukevich l Cavanaugh
                                                                                                         Charge
                                                                                                         Attorney in
    Ford Motor Co                    Defendant      Ko, Sandra            Ko, Sandra
                                                                                                         Charge
    Ford Motor Co                    Defendant      Johnston, Sarah       Johnston, Sarah                Attorney
                                                                          Walsworth Franklin Bevins &    Attorney in
    G E Aviation Systems LLC         Defendant      Gardiner, Katherine                                   Charge
                                                                           McCall-Orange
                                                                          Walsworth Franklin Bevins &    Attorney in
    G E Aviation Systems LLC         Defendant      Johnson, Derek S       McCall-Orange                  Charge




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                                                                       Walsworth Franklin   Bevins &  Attorney in
   G E Aviation Systems LLC           Defendant    Sheldon, Charles    McCall-Orange                  Charge
                                                                       Walsworth Franklin  Bevins     Attorney in
   General Electric Co                Defenda nt   Gardiner, Katherine McCall-Orange                  Charge
                                                                       Walsworth Franklin  Bevins &   Attorney in
   General Electric Co                Defendant    Johnson, Derek S    McCall-Orange                  Charge
                                                                       Walsworth Franklin  BeyIns &   Attorney in
   General Electric Co               , Defendant   Sheldon, Charles                                   Charge
                                                                       McCall-Orange
                                                                       Walsworth Franklin  Bevins &   Attorney In
   General Gasket Corp                Defenda nt   Johnson, Karen                                     Charge
                                                                       McCall-Ora nge
                                                                                                      Attorney in
   General Laboratory Associates      Defendant    Glaspy, David       Glaspy & Glaspy                Charge
                                                                                                       Attorney in
   Genuine Parts Co Inc               Defendant    Pond, Frank D       Pond North LLP
                                                                                                      Charge
                                                                                                       Attorney in
   Genuine Parts Co Inc               Defendant    Pieper, Timothy     Pond North LLP
                                                                                                      Charge
                                                                                                       Attorney in
   Genuine Parts Co Inc               Defendant    Schatz, Russell W   Pond North LLP                  Charge
                                                                                                       Attorney in
   Goodrich Corp                      Defendant    Glaspy, David       Glaspy & Glaspy                 Charge
                                                                                                       Attorney in
   Goodrich Fuel Utilities Systems    Defendant    Glaspy, David       Glaspy & Glaspy                 Charge
                                                                       Lewis Brisbois Bisgaard &       Attorney in
    Goodyear Aerospace Corp           Defendant    Stone, Elan N       Smith LLP-Los Angeles           Charge
                                                                       Lewis Brisbois Bisgaard &       Attorney In
    Goodyear Tire & Rubber Co         Defendant    Stone, Elan N       Smith LLP-Los Angeles           Charge
                                                                                                       Attorney in
    Great Dane Trailers Inc           Defenda nt   Smelser, Steven     Yukevich 1 Cavanaugh            Charge
                                                                                                       Attorney In
    Great Dane Trailers Inc           Defendant    Ko, Sandra          Ko, Sandra
                                                                                                       Charge
                                                                       Hawkins Parnell Thackston &     Attorney in
    Grizzly Manufacturing Co          Defenda nt   Chan, Macy M                                        Charge
                                                                       Young LLP-California
                                                                        Hawkins Parnell Thackston &     Attorney in
    Grizzly Manufacturing Co           Defendant   Ulloa, Edward
                                                                       Young LLP-California             Charge
                                                                        Hawkins Parnell Thackston &    Attorney in
    Grizzly Manufacturing Co           Defendant   Bowlby, Stephanie                                   Charge
                                                                       Young LLP-California
                                                                                                        Attorney in
    Harco Laboratories Inc             Defendant   Pajala, Ulla M      Burnham Brown-Oakland
                                                                                                       Charge
                                                                                                        Attorney in
    Harco Laboratories Inc             Defendant   Downey, Thomas M     Burnham Brown-Oakland           Charge
                                                                        Lewis Brisbois Bisgaard         Attorney in
    Henkel Coro                        Defendant   Khonsari, Arezou    Smith LLP-Los Angeles            Charge
                                                                                                        Attorney in
    Honeywell Aerospace                Defendant   Biderman, David T    Perkins Cole LLP-San Francisco Charge
                                                                                                        Attorney in
    Honeywell Aerospace                Defendant   Kim, Bo              Perkins Cole LLP-San Francisco Charge
                                                                                                        Attorney In
    Honeywell International Inc        Defendant   Biderman, David T    Perkins Coie LLP-San Francisco Charge
                                                                                                        Attorney in
    Honeywell International Inc        Defendant    Kim, Bo             Perkins Coie LLP-San Francisco Charge
                                                                        Howard Rome Martin & Ridley Attorney in
    Imo Industries Inc                 Defendant    Bailey, Bobbie R                                    Charge
                                                                        LLP
                                                                        Howard Rome Martin & Ridley Attorney in
    Imo Industries Inc                 Defendant    Rome, Henry D                                       Charge
                                                                        LLP
                                                                        Howard Rome Martin & Ridley Attorney in
    Imo Industries Inc                 Defendant    Rauch, Lisa                                         Charge
                                                                        LLP
    International Truck & Engine                                        Lankford Crawford Moreno &      Attorney in
                                       Defendant    Lannus, Paul        Ostertag LLP                    Charge
    Corp
    International Truck & Engine                                        Lankford Crawford Moreno &      Attorney in
                                       Defendant    Ostertag, James     Ostertag LLP                    Charge
    Corp
    International Truck & Engine                                                                        Attorney in
                                       Defendant    Nelson, Evan C       Nelson, Evan C                 Charge
    Corp




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                                                                       Baker & Hostetler LLP-         Attorney In
    J D Lincoln Inc                  Defendant    Mitchell, Wade       Cleveland                      Charge
                                                                                                       Attorney in
     D Lincoln Inc                   Defendant    Davis, Jim           Davis, Jim                     Charge
                                                                                                       Attorney in
    Kenworth Truck Co                Defendant    Buty, Madeline       Buty & Curliano LLP
                                                                                                      Charge
    Lockheed Martin Aeronautical                                                                       Attorney in
                                     Defendant    Glazier, Guy P       Glazier Yee LLLP
    Systems                                                                                            Charge
    Lockheed Martin Aeronautical                                                                       Attorney in
                                     Defendant    Parker, Deborah M    Glazier Yee LLLP
    Systems                                                                                            Charge
    Lockheed Martin Aeronautical                                                                       Attorney in
                                     Defendant    Irani, Nina C        Irani, Nina C Esq
    Systems                                                                                            Charge
                                                                                                       Attorney in
    Lockheed Martin Corp             Defendant    Glazier, Guy P       Glazier Yee LLLP
                                                                                                       Charge
                                                                                                       Attorney in
    Lockheed Martin Corp             Defendant    Parker, Deborah M    Glazier Yee LLLP
                                                                                                       Charge
                                                                                                       Attorney in
    Lockheed Martin Corp             Defendant    Irani, Nina C        Irani, Nina C Esq               Charge
    Lockheed Martin Tactical                                                                           Attorney in
                                     Defendant    Glazier, Guy P       Glazier Yee LLLP                Charge
    Systems Inc
    Lockheed Martin Tactical                                                                           Attorney in
                                     Defendant    Parker, Deborah M    Glazier Yee LLLP                Charge
    Systems Inc
    Lockheed Martin Tactical                                                                           Attorney in
                                     Defendant    Irani, Nina C        Irani, Nina C Esq               Charge
    Systems Inc
                                                                       Morgan Lewis & Bockius LLP-     Attorney in
    M 7 Aerospace LLC                Defenda nt   Duffy, Joseph        Los Angeles                     Charge
                                                  Phillips, Meghan      Morgan Lewis & Bockius LLP-    Attorney in
    M 7 Aerospace LLC                Defenda nt   Lynn                 Los Angeles                     Charge
                                                                       Lankford Crawford Moreno &      Attorney in
    Mack Trucks Inc                  Defendant    Lannus, Paul
                                                                       Ostertag LLP                    Charge .
                                                                        Lankford Crawford Moreno &     Attorney in
    Mack Trucks Inc                  Defenda nt   Ostertag, James
                                                                       Ostertag LLP                    Charge
                                                                                                        Attorney in
    Mack Trucks Inc                  Defendant    Nelson, Evan C        Nelson, Evan C
                                                                                                        Charge
                                                                        Hawkins Parnell Thackston &     Attorney in
    Maremont Corp                    Defenda nt   Chan, Macy M
                                                                       Young LLP-California             Charge
                                                                        Hawkins Parnell Thackston &     Attorney in
    Maremont Coro                    Defendant    Ulloa, Edward
                                                                       Young LLP-California             Charge
                                                                        Hawkins Parnell Thackston &     Attorney in
    Maremont Corp                    Defendant    Bowlby, Stephanie    Young LLP-California             Charge
                                                                                                        Attorney in
    McDonnell Douglas Corp           Defendant    Boone, Robert E       Bryan Cave LLP-Santa Monica Charge
                                                                                                        Attorney in
    McDonnell Douglas Corp           Defendant    Biderman, David T     Perkins Coie LLP-San Francisco Charge
                                                                                                        Attorney in
    McDonnell Douglas Corp           Defendant    Kim, Bo               Perkins Cole LLP-San Francisco Cha rge
                                                                                                        Attorney in
    McDonnell Douglas Corp           Defendant    Pettis, James C       Bryan Cave LLP-Santa Monica Charge
                                                                                                        Attorney in
    McDonnell Douglas Corp           Defendant    Gold, Oliver M        Perkins Coie LLP-Los Angeles    Charge
                                                                        Steptoe  &Johnson  LLP -        Attorney in
    Metropolitan Life Insurance Co   Defendant    Spira, Kirsten                                        Charge
                                                                        Century Clty
                                                                        Steptoe &Johnson LLP-Los        Attorney in
    Metropolitan Life Insurance Co   Defendant    Petrovsky, Lisa                                       Charge
                                                                        Angeles
    Minnesota Mining &                                                                                  Attorney In
                                     Defendant    Boone, Mordecai D     Gordon & Rees-San Francisco
    Manufacturing Co                                                                                    Charge
    Minnesota Mining &                                                                                  Attorney in
                                     Defendant    Zacher, P Gerhardt    Gordon & Rees-San Francisco
    Manufacturing Co                                                                                    Charge
    Minnesota Mining &                                                                                  Attorney in
                                     Defendant    Futoran, Kristine     Gordon & Rees-San Francisco
    Manufacturing Co                                                                                    Charge
                                                  Pletrykowski,                                         Attorney in
     Motion Control Industries Inc   Defendant                          Gordon & Rees-San Francisco Charge
                                                  Michael J




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                                                                                                       Attorney in
    Motion Control Industries Inc   Defendant    Willenburg, Don        • Gordon & Rees-San Francisco  Charge
                                                                                                       Attorney in
    NAPA                            Defendant    Pond, Frank D        Pond North LLP                   Charge
                                                                                                       Attorney in
    NAPA                            Defendant    Pieper, Timothy      Pond North LLP                   Charge
                                                                                                       Attorney in
    NAPA                            Defendant    Schatz, Russell W Pond North LLP
                                                                                                       Charge
    National Automotive Parts                                                                          Attorney in
                                    Defendant    Pond, Frank D        Pond North LLP
    Association                                                                                        Charge
    National Automotive Parts                                                                          Attorney in
                                    Defendant    Pieper, Timothy      Pond North LLP
    Association                                                                                        Charge
    National Automotive Parts                                                                          Attorney in
                                    Defendant    Schatz, Russell W Pond North LLP
    Association                                                                                        Charge
                                                                      Lankford Crawford Moreno &       Attorney in
    Navistar Inc                    Defendant    Lannus, Paul
                                                                      Ostertag LLP                     Charge
                                                                      Lankford Crawford Moreno &       Attorney in
    Navistar Inc                    Defendant    Ostertag, James      Ostertag LLP                     Charge
                                                                                                       Attorney in
    Navistar Inc                    Defendant    Nelson, Evan C       Nelson, Evan C                   Charge
                                                                                                       Attorney in
    North American Aviation Corp    Defenda nt   Boone, Robert E      Bryan Cave LLP-Santa Monica Charge
                                                                                                       Attorney in
    North American Aviation Corp    Defendant    Biderman, David T Perkins Coie LLP-San Francisco Charge
                                                                                                       Attorney
    North American Aviation Corp    Defendant    Klm, Bo              Perkins Coie LLP-San Francisco
                                                                                                                 inCharge
                                                                                                       Attorney in
    North American Aviation Corp    Defendant    Pettis, James C      Bryan Cave LLP-Santa Monica Charge
                                                                                                        Attorney in
    North American Aviation Corp    Defendant    Gold, Oliver M       Perkins Coie LLP-Los Angeles
                                                                                                        Charge
                                                                      Simon Greenstone Panatier         Attorney in
    Olds, Paul                      Plaintiff    Bartlett, Jennifer L
                                                                      Bartlett PC                       Charge
                                                                                                        Attorney in
    Paccar Inc                      Defendant    Buty, Madeline       Buty & Curliano LLP
                                                                                                        Charge
                                                                                                        Attorney in
    Parker Aerospace                Defendant     No Answer on File Firm TBD
                                                                                                        Charge
                                                                                                        Attorney in
    Parker Hannifin Corp            Defendant    Kum, Robert          Sedgwick LLP-Los Angeles
                                                                                                        Charge
                                                                                                        Attorney in
    Parker Hannifin Corp            Defendant     Groseclose, Mathew Sedgwick LLP-Los Angeles           Charge
                                                                                                        Attorney in
    Parker Hannifin Corp            Defendant     Disaia, Steven D    Sedgwick LLP-Los Angeles          Charge
                                                                                                        Attorney in
    Peterbilt Truck Co              Defenda nt    Buty, Madeline       Buty & Curliano LLP              Charge
    Pirelli Communications Cables &                                   Thompson Coe Cousins & Irons Attorney in
                                    Defendant     Ezzell, Peter Q      LLP-Houston-Dallas               Charge
    Systems USA LLC
                                                                                                        Attorney
    Pneumo Abex Aerospace           Defendant     Wyles, Kelvin        DeHay & Elllston LLP-California                    inCharge
                                                                                                        Attorney in
    Pneumo Abex Aerospace           Defendant     White, Paul C        Yukevich l Cavanaugh             Charge
                                                                                                        Attorney in
    Pneumo Abex Aerospace           Defendant     Judin, Jennifer      DeHay & Elllston LLP-California
                                                                                                        Charge
                                                                                                        Attorney in
    Pneumo Abex LLC                 Defendant     Wyles, Kelvin        DeHay & Elliston LLP-California
                                                                                                        Charge
                                                                                                        Attorney in
    Pneumo Abex LLC                 Defendant     White, Paul C        Yukevich Cavanaugh
                                                                                                         Charge
                                                                                                        Attorney in
    Pneumo Abex LLC                 Defendant     Judin, Jennifer      DeHay & Elliston LLP-California
                                                                                                         Charge
                                                  Hormozyari,          DeHay & Elliston LLP-California Attorney
    Pneumo Abex LLC                 Defendant
                                                  Anosheh
                                                                                                         Attorney in
    Pratt & Whitney                 Defendant     Son, John K          Tucker Ellis LLP -Los Angeles     Charge




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                                                                                                          Attorney in
   Pratt & Whitney                     Defendant   Wilson, Lance D       Tucker Ellis LLP-San Francisco
                                                                                                          Charge
   Prvsmian Power Cables &                                               Thompson Coe Cousins & Irons     Attorney in
                                       Defendant   Ezzell, Peter Q       LLP-Houston-Dallas               Charge
   Systems USA LLC
                                                                                                          Attorney in
   Rockwell International Corp         Defendant   Boone, Robert E       Bryan Cave LLP-Santa Monica      Charge
                                                                                                          Attorney in
   Rockwell International Coro         Defendant   Biderman, David T     Perkins Cole LLP-San Francisco   Charge
                                                                                                          Attorney in
   Rockwell International Corp         Defendant   Kim, Bo               Perkins Coie LLP-San Francisco   Charge
                                                                                                          Attorney•in
   Rockwell International Corp         Defendant   Pettis, Jdmes C       Bryan Cave LLP-Santa Monica      Charge
                                                                                                          Attorney In
   Rockwell International Corp         Defendant   Gold, Oliver M        Perkins Coie LLP-Los Angeles     Charge
   Simmonds Precision Engine                                                                              Attorney in
                                       Defendant   Glaspy, David         Glaspy &Glaspy                   Charge
   Systems Inc
                                                                                                          Attorney in
   Simmonds Precision Products Inc Defendant       Glaspy, David         Glaspy & Glaspy
                                                                                                          Charge
                                                                         Walsworth Franklin Bevins &      Attorney in
   Smiths Aerospace LLC                Defendant   Gardiner, Katherine                                    Charge
                                                                         McCall-Orange
                                                                         Walsworth Franklin Bevins &      Attorney in
   Smiths Aerospace LLC '              Defendant   Johnson, Derek S                                       Charge
                                                                         McCall-Orange
                                                                         Walsworth Franklin Bevins &       Attorney in
   Smiths Aerospace LLC                Defendant   Sheldon, Charles
                                                                         McCall-Orange                     Charge
                                                                         McKenna Long & Aldridge-Los       Attorney in
    Spicer Manufacturing Co            Defendant   Nicol, Farah          Angeles                           Charge
                                                                         Prindle Decker 8t Amaro LLP-      Attorney in
   Thermo Kina Corp                    Defendant   Crochet, Carla L                                        Charge
                                                                         Long Beach
                                                                         Prindle Decker & Amaro LLP-       Attorney in
   Thermo King Corp                    Defendant   Milbrodt, Jeremy      Long Beach                        Charge
                                                                         Prindle Decker &.Amaro LLP-       Attorney in
    Thermo King Coro                   Defendant   Galfayan, Arpi        Long Beach       -                Charge
    UMECO Structural Materials                                           Baker & Hostetler LLP-            Attorney in
                                       Defendant   Mitchell, Wade        Cleveland                         Charge
    OK Inc
    UMECO Structural Materials CA                                        Baker & Hostetler LLP-            Attorney in
                                       Defendant   Mitchell, Wade        Cleveland                         Charge
    Inc
    UMECO Structural Materials CA                                                                          Attorney in
                                       Defendant   Davis, Jim            Davis, Jim                        Charge
    Inc
                                                                          McKenna Long & Aldridge-Los      Attorney in
    Union Carbide Corp                 Defendant   Nicol, Farah           Angeles                          Charg e
                                                                                                           Attorney in
    United Technologies Corp           Defendant   Son, John K           Tucker Ellis LLP -Los Angeles
                                                                                                           Charge
                                                                                                           Attorney in
    United Technologies Corp           Defendant   Wilson, Lance D       Tucker Ellis LLP-San Francisco
                                                                                                           Charge
                                                                                                           Attorney in
    Utility Trailer Manufacturing Co   Defendant   Ackley, Lisa R         Ackley, Lisa R
                                                                                                           Charge
                                                                          Walsworth Franklin Bevins &      Attorney in
    Utility Trailer Manufacturing Co   Defendant   Huynh, Elizabeth       McCall-Orange                     Charge
                                                                          Walsworth Franklin Bevins &       Attorney in
    Utility Trailer Manufacturing Co   Defendant   Quon, Kimberly                                           Charge
                                                                          McCall-Orange
                                                                          McKenna Long & Aldridge-Los       Attorney in
    Victor Gasket Manufacturing Co     Defendant   Nicol, Farah           Angeles                           Charge
                                                                          Howard Rome Martin & Ridley       Attorney in
    Wiggins Connectors                 Defendant    Bailey, Bobbie R      LLP                               Charge
                                                                          Howard Rome Martin & Ridley       Attorney in
    Wiggins Connectors                 Defendant    Rome, Henry D         LLP                               Charge
                                                                          Howard Rome Martin & Ridley       Attorney in
    Wiggins Connectors                 Defendant    Rauch, Lisa           LLP                               Charge



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                                       #:6961

 1                               CERTIFICATE OF SERVICE
2       I declare that I am a citizen ofthe United States and a resident ofLos Angeles,
  California or employed in the County of Los Angeles, State of California. I am over the
3 age of 18 and not aparty to the within action. My business address is Tucker Ellis LLP,
  515 South Flower Street, Forty-Second Floor, Los Angeles, California 90071-2223.
4
            On October 30, 2013,I served the following document entitled DECLARATION
5 OF JOHN K. SON IN SUPPORT OF DEFENDANT UNITED TECHNOLOGIES
     CORPORATION'S EX PARTE APPLICATION TO CONTINUE THE HEARING ON
6 PLAINTIFF'S MOTION TO COMPEL THE DEPOSITION OF UNITED
     TECHNOLOGIES CORPORATION AND REQUEST FOR PRODUCTION OF
7 DOCUMENTS PURSUANT TO RULES OF CIVIL PROCEDURE 30(B)(6); AND
     PLAINTIFFS' REQUEST FOR SANCTIONS; MEMORANDUM OF POINTS AND
8 AUTHORITIES on the interested parties in this action by:

9 (X)       ELECTRONICALLY VIA ECF: the above-entitled document to be served
            electronically through the United States District Court, Central District ECF
10          website, addressed to all parties appearing on the Court's ECF service list. A copy
            ofthe "Filing Receipt" page will be maintained with the original document in our
11          office.
12   ()     U. S. MAIL:I placed a copy in,a separate envelope, with postage fully -prepaid,
            for each address named on the attached service list for collection anc. mailing
13          on the below indicated day following the ordinary business practices at Tucker
            Ellis LLP. I certify I am familiar with the ordinary business practices of my place
14          of employment with regard to collection for mailing with the United States Postal
            Service. I am aware that on motion ofthe party served, service is presumed invalid
15          if postal cancellation date or postage meter date is more than one day after date of
            deposit or mailing affidavit.
16
   (X) I declare that I am employed in the office of a member ofthe Bar of this Court at
17     whose direction the service was made.
18           Executed on October 30,2013 at Los Angeles, California.
19

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21                                          Bianca F ores
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                                       CERTIFICATE OF SERVICE
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